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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERCA                      :
                                             :
       v.                                    :       CRIMINAL NO. 23-CR-000035-RC-3
                                             :
TROY WEEKS,                                  :
                                             :


      DEFENDANT WEEKS’ NOTICE OF PREFERENCE FOR ZOOM HEARING


       TROY WEEKS, through his attorney JAMES C. KNOX, ESQ., hereby respectfully gives

notice to the Court, pursuant to the Court’s 4/14/23 minute order, that he would prefer to have the

status conference currently scheduled for July 10, 2023 via ZOOM as opposed to in person.


                                             Respectfully submitted,

                                             E. STEWART JONES HACKER MURPHY, LLP

                                             By:   /s/ James C. Knox
                                                    James C. Knox, Esq.
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                                             28 Second Street
                                             Troy, New York 12180
                                             Telephone: 518-274-5820
                                             jknox@joneshacker.com


                                CERTIFICATE OF SERVICE

       I hereby certify on the 6th day of July 2023, a copy of same was delivered to the parties of
record pursuant to ECF and the rules of the Clerk of the Court.

                                                       /s/ James C. Knox
